Case 16-13759-AJC Doc45 Filed 12/19/17 Page 1 of 2

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO.: 16-13759-BKC-AJC
. PROCEEDING UNDER CHAPTER 13

CHERYL MARY VALDES

DEBTOR /

 

NOTICE OF DEPOSIT OF FUNDS WITH
THE UNITED STATES BANKRUPTCY COURT CLERK

 

NOTICE IS HEREBY GIVEN THAT:

The Trustee has a balance of $14,172.70 remaining in her bank account which represents unpresented checks drawn and
mailed to debtor(s)/creditor(s) in the above named case. Your trustee has made a good faith effort to verify the correct
mailing address for said debtors(s)/creditor(s) and deliver the funds before pressenting this notice. More than sufficient

time has passed for these checks to be presented for payment, or the creditor has returned funds indicating they refuse the
funds.

Attached and made a part of this notice, is a list, pursuant to FRBP 3011, of the names, claim numbers and addresses of
the debtor(s)/creditor(s) and the amounts to which each is entitled.

WHEREFORE, your Trustee hereby gives notice that the above-stated sum has been deposited with the Clerk of the
United States Bankruptcy Court, Southern District of Florida, to effect closing this-estate.

 

Date:

 

 

 

MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

CHERYL MARY VALDES
18725 NE 18 AVE
MIAMI, FL 33179

CHERYL MARY VALDES
18725 NE 18 AVE
MIAMI, FL 33179

DAVID C. RUBIN, ESQUIRE
6800 SW 40 ST, #352
MIAML FL 33155

U.S. TRUSTEE
51S8.W. IST AVENUE
MIAMI, FL 33130
Case 16-13759-AJC Doc45_ Filed 12/19/17 Page 2 of 2

NOTICE OF DEPOSIT OF FUNDS
CASE NO.: 16-13759-BKC-AJC

 

ATTACHMENT
NOTICE OF DEPOSIT OF FUNDS WITH THE
UNITED STATES BANKRUPTCY COURT CLERK
ATTACHMENT - LISTING OF CLAIMANT
CASE NO.: 16-13759-BKC-AJC
CHERYL MARY VALDES $14,172.70

18725 NE 18 AVE
MIAMI, FL 33179
